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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                                                                           Electronically Filed
  SALLIE BINGHAM                                            )
                                                            )
                         Plaintiff,                         )
                                                            )
  v.                                                        ) CASE NO. 3:24-cv-211-CRS
                                                            )
  KENTUCKY FOUNDATION FOR WOMEN, INC.,                      )
                                                            )
                         Defendant.                         )


                                              ORDER

        This matter having come before the Court on Defendant/Counterclaim-Plaintiff Kentucky

 Foundation for Women, Inc.’s (“KFW”), Motion to Disqualify Dentons Bingham Greenebaum

 LLP    (“Dentons”) from       representing Plaintiff/Counterclaim-Defendant        Sallie Bingham

 (“Bingham”) in this matter, and all parties having had the opportunity to be heard, the Court being

 otherwise sufficiently advised,

        IT IS HEREBY ORDERED that KFW’s Motion is GRANTED. Dentons is disqualified

 from representing Bingham in this matter. Bingham has forty-five (45) days to procure new

 counsel and have said new counsel enter an appearance before this Court,

        IT IS FURTHER ORDERED that Dentons shall compensate KFW for its legal fees and

 costs related to bringing this motion and its motion for a protective order, (D.E. ), in an amount to

 be determined by the Court after reviewing proof of those fees and costs, which KFW shall provide

 to the Court.

        IT IS SO ORDERED.
